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                                United States District Court
                                         EASTERN DISTRICT OF TEXAS
                                             SHERMAN DIVISION

    TALIA N. HARRISON,                                      §
                                                            §
                                                            §
                                                            §
         Plaintiff,                                         § Civil Action No. 4:21-CV-607
    v.                                                      § Judge Mazzant
                                                            §
    TYLER TECHNOLOGIES, INC.,                               §
                                                            §
                                                            §
         Defendant.                                         §

                                            SCHEDULING ORDER

        The Court, after reviewing the case management report required by Federal Rule of Civil
Procedure 26(f), and conferring with the parties either by e-mail or scheduling conference, enters
this case-specific order which controls disposition of this action pending further order of the Court.
The following actions shall be completed by the date indicated.1
                                                   DEADLINES

    November 11, 2021                        Deadline for motions to transfer

    December 16, 2021                        Deadline to add parties

                                             Disclosure of expert testimony pursuant to Fed. R. Civ. P.
    January 13, 2022
                                             26(a)(2) and Local Rule CV-26(b) on issues for which the
                                             party bears the burden of proof.

    January 27, 2022                         Deadline for Plaintiff to file amended pleadings.
                                             (A motion for leave to amend is required.)

                                             Disclosure of expert testimony pursuant to Fed. R. Civ. P.
    February 10, 2022
                                             26(a)(2) and Local Rule CV-26(b) on issues for which the
                                             party does not bear the burden of proof.

                                             Deadline for Defendants’ final amended pleadings.
    February 10, 2022
                                             (A motion for leave to amend is required.)




1
  If a deadline falls on a Saturday, Sunday, or a legal holiday as defined in Fed. R. Civ. P. 6, the effective date is the
first federal court business day following the deadline imposed.
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6 weeks after              Deadline to object to any other party’s expert witnesses.
disclosure of an           Objection shall be made by a motion to strike or limit expert
expert is made             testimony and shall be accompanied by a copy of the
                           expert’s report in order to provide the court with all the
                           information necessary to make a ruling on any objection.

February 10, 2022          'HDGOLQH IRU PRWLRQV WR GLVPLVV PRWLRQV IRU VXPPDU\
                           MXGJPHQWRURWKHUGLVSRVLWLYHPRWLRQV

                           Deadline by which the parties shall notify the Court of the
6 weeks prior              name, address, and telephone number of the agreed-upon
to the deadline            mediator, or request that the Court select a mediator, if they
for mediation              are unable to agree on one

January 14, 2022           0HGLDWLRQGHDGOLQH

April 21, 2022             All discovery shall be commenced in time to be completed by
                           this date.

July 21, 2022              Notice of intent to offer certified records

                           Counsel and unrepresented parties are each responsible for
July 21, 2022
                           contacting opposing counsel and unrepresented parties to
                           determine how they will prepare the Joint Final Pretrial
                           Order (See        www.txed.uscourts.gov)     and      Joint
                           Proposed Jury Instructions and Verdict Form (or Proposed
                           Findings of Fact and Conclusions of Law in non-jury cases).

                           Video Deposition Designation due.        Each party who
July 28, 2022
                           proposes to offer a deposition by video shall serve on all
                           other parties a disclosure identifying the line and page
                           numbers to be offered. All other parties will have seven
                           calendar days to serve a response with any objections and
                           requesting cross-examination line and page numbers to be
                           included. Counsel must consult on any objections and only
                           those which cannot be resolved shall be presented to the
                           court. The party who filed the initial Video Deposition
                           Designation is responsible




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                                             for preparation of the final edited video in accordance with
                                             all parties’ designations and the Court’s rulings on objections.

                                             Motions in limine due.
    August 2, 2022
                                             File Joint Final Pretrial Order. (See www.txed.uscourts.gov).

                                             Response to motions in limine due.2
    August 18, 2022

    August 18, 2022                          File objections to witnesses, deposition extracts, and exhibits,
                                             listed in pre-trial order.3 (This does not extend the deadline
                                             to object to expert witnesses) (Provide the exhibit objected to
                                             in the motion or response). If numerous objections are filed
                                             the court may set a hearing prior to docket call.
                                             File Proposed Jury Instructions/Form of Verdict (or Proposed
                                             Findings of Fact and Conclusions of Law).

Date will be set by Court.                   If numerous objections are filed the Court may set a hearing
Usually within 10 days prior to              to consider all pending motions and objections.
the Final Pretrial Conference.

    September 1, 2022                        Final Pretrial Conference at 9:00 a.m. at the Paul Brown
                                             United States Courthouse located at 101 East Pecan Street in
                                             Sherman, Texas. Date parties should be prepared to try case.
                                             All cases on the Court’s Final Pretrial Conference docket for
                                             this day have been set at 9:00 a.m. However, prior to the Final
                                             Pretrial Conference date, the Court will set a specific time
                                             between 9:00 a.m. and 4:00 p.m. for each case, depending on
                                             which cases remain on the Court’s docket.

To be determined                             10:00 a.m. Jury selection and trial at the Paul Brown United
                                             States Courthouse located at 101 East Pecan Street in
                                             Sherman, Texas. Cases that remain for trial following the
                                             Court’s Pretrial docket will be tried betweenOctober 3, 2022,
                                             and November
                                                  September 4,2,2022
                                                                 2022. A specific trial date in this time
                                             frame will be selected at the Final Pretrial Conference.

2
  This is not an invitation or requirement to file written responses. Most motions in limine can be decided without a
written response. But, if there is particularly difficult or novel issue, the Court needs some time to review the matter.
To save time and space respond only to items objected to. All others will be considered to be agreed. Opposing
counsel shall confer in an attempt to resolve any dispute over the motions in limine within five calendar days of the
filing of any response. The parties shall notify the court of all the issues which are resolved.
3
  Within five calendar days after the filing of any objections, opposing counsel shall confer to determine whether
objections can be resolved without a court ruling. The parties shall notify the court of all issues which are resolved.
The court needs a copy of the exhibit or the pertinent deposition pages to rule on the objection.

                                                           3
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                                     SCOPE OF DISCOVERY

        Modification. Taking into account the needs of the case, the amount in controversy, the
parties’ resources, the importance of the issues at stake in the litigation, and the importance of the
proposed discovery in resolving the issues, the Court modifies the parameters of discovery in the
following respects. See Fed. R. Civ. P. 26(b)(2).

       Disclosure. The parties are reminded of the requirement, set out in this court’s Initial Order
Governing Proceedings, to have already disclosed, without awaiting a discovery request,
information in addition to that required by Fed. R. Civ. P. 26, including names of persons likely to
have, and documents containing, information “relevant to the claim or defense of any party.”

        If there are any questions about whether information is “relevant to the claim or defense of
any party” review Local Rule CV-26(d). A party that fails to timely disclose any of the information
required to be disclosed by order of this court or by the Federal Rules of Procedure, will not,
unless such failure is harmless, be permitted to use such evidence at trial, hearing or in support of
a motion.

       Electronic Discovery. Electronically stored information will be produced in hard copy
form or multi-page TIFF format, unless the parties agree otherwise.

       The parties are excused from the pretrial disclosure requirements set forth in Federal Rule
of Civil Procedure 26(a)(3), as such disclosure is cumulative of this court’s pre-trial order
procedures.

                                     DISCOVERY DISPUTES

         In the event the parties encounter a discovery dispute, no motions to compel may be filed
until after the parties fulfill the “meet and confer” requirement imposed by this Court’s Local Rule
CV-7(h). If the parties are unable to resolve the dispute without court intervention, the parties
must then call the Court’s chambers to schedule a telephone conference regarding the subject
matter of the dispute prior to filing any motion to compel. After reviewing the dispute, the Court
will resolve the dispute, order the parties to file an appropriate motion, or direct the parties to call
the discovery hotline.

       A magistrate judge is available during business hours to immediately hear discovery
disputes and to enforce provisions of the rules. The hotline number is (903) 590-1198. See Local
Rule CV-26(e).

                                           RESOURCES



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        The Eastern District of Texas website (http://www.txed.uscourts.gov) contains information
about Electronic filing, which is mandatory, Local Rules, telephone numbers, general orders,
frequently requested cases, the Eastern District fee schedule, and other information. The
electronic filing HelpLine is 1-866-251-7534.

                                         COMPLIANCE

        A party is not excused from the requirements of this scheduling order by virtue of the fact
that dispositive motions are pending, the party has not completed its investigation, the party
challenges the sufficiency of the opposing party’s disclosure or because another party has failed
to comply with this order or the rules.

         Failure to comply with relevant provisions of the Local Rules, the Federal Rules of Civil
Procedure or this order may result in the exclusion of evidence at trial, the imposition of sanctions
by the Court, or both. If a fellow member of the Bar makes a just request for cooperation or seeks
scheduling accommodation, a lawyer will not arbitrarily or unreasonably withhold consent.
However, the Court is not bound to accept agreements of counsel to extend deadlines imposed by
rule or court order. See Local Rule AT-3(j).

                                              TRIAL

        The deadlines for pre-trial matters, such as exchanging exhibits, and objections, are
intended to reduce the need for trial objections, side-bar conferences, and repetitive presentation
of evidentiary predicates for clearly admissible evidence. Counsel should be familiar with the
evidence display system available in the courtroom. Copies of exhibits which will be handed to
witnesses should be placed in a three ring binder, with an additional copy for the court. (To make
it easy to direct the witness to the correct exhibit while on the stand, Plaintiff should use a dark
colored binder such as black or dark blue. Defendant should use a light colored binder such as
white, red, or light blue.) Alternatively, if exhibits have been scanned and will be presented via a
computer projection system, be sure there is a way for the court to view or read them separately
so as to be able to understand motions and objections.

       Counsel are responsible for informing their clients and witnesses about courtroom dress
requirements and protocol, such as silencing pagers and phones, and not chewing gum, reading
newspapers, or eating.

                                       OTHER MATTERS

1.    Please note the amendments to the Local Rules regarding motion practice. If a document
      filed electronically exceeds ten pages in length, including attachments, a paper copy of the
      filed document must be sent contemporaneously to the undersigned’s chambers in Sherman.
      See Local Rule CV-5(a)(9). Courtesy copies over twenty pages long should be bound to the
      left, and voluminous exhibits should be separated by dividers.

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    2.   If necessary, the parties should notify the court if assistance is needed in selecting a
.        mediator.

    3.   Any reply or sur-reply must be filed in accordance with Local Rule CV-6 and Local Rule
         CV-7(f). The parties are reminded that “[t]he court need not wait for the reply or sur-reply
         before ruling on the motion.” Local Rule CV-7(f) (emphasis added).

    IT IS SO ORDERED.
    SIGNED this 1st day of November, 2021.




                                 ___________________________________
                                 AMOS L. MAZZANT
                                 UNITED STATES DISTRICT JUDGE




                                                   6
